         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2022-2806
                 LT Case No. 2020-CF-001273
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RAMARIE ARCHIBALD,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Sumter County.
Mary P. Hatcher, Judge.

Markus X. Murden, of MXM Law, Orlando, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Daniel P.
Caldwell, Assistant Attorney General, Daytona Beach, for
Appellee.

                        August 20, 2024

PER CURIAM.

    AFFIRMED.

EDWARDS, C.J., and EISNAUGLE and MACIVER, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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